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14                               UNITED STATES DISTRICT COURT
15                            NORTHERN DISTRICT OF CALIFORNIA
16                                        SAN JOSE DIVISION
17

18   FEDERAL TRADE COMMISSION,                    CASE NO. 5:22-cv-04325-EJD (SVK)
19                               Plaintiff,       NON-PARTY APPLE INC.’S STATEMENT
20                 v.                             RE: DEFENDANT META PLATFORMS,
                                                  INC.’S ADMINISTRATIVE MOTION TO
21   META PLATFORMS, INC., et al.,                CONSIDER WHETHER ANOTHER
                                                  PARTY’S MATERIAL SHOULD BE
22                               Defendants.      SEALED
23
                                                  Location: Courtroom 2 – 5th Floor
24                                                District Judge: Hon. Edward J. Davila
                                                  Magistrate Judge: Hon. Virginia K. DeMarchi
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             NON-PARTY APPLE INC.’S STATEMENT RE: META’S ADMINISTRATIVE MOTION
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 1   I.      INTRODUCTION
 2         Pursuant to Civil Local Rules 7-11 and 79-5, Non-Party Apple Inc. (“Apple”) respectfully
 3 seeks to seal certain portions of Apple’s and Defendant Meta Platforms, Inc.’s (“Meta”) “Joint

 4 Statement Regarding Dispute on Subpoena to Non-Party Apple, Inc.” (Dkt. 139) (“Joint Discovery

 5 Letter”) and Exhibit 2 thereto (Dkt. 139-2) (“Ex. 2”), which contain the following non-public, highly

 6 sensitive, and confidential business information that could affect Apple’s competitive standing, as

 7 further described below and in the concurrently filed Declaration of Brendan McNamara

 8 (“McNamara Decl.”):

 9   Document                  Portions to be Filed Under Seal                         Party Claiming
                                                                                       Confidentiality
10   Joint Discovery Letter    Page 1, lines 20-21                                     Apple
11   Joint Discovery Letter    Page 1, lines 23-27                                     Apple
     Joint Discovery Letter    Page 2, lines 5-7                                       Apple
12   Joint Discovery Letter    Page 2, line 8                                          Apple
     Joint Discovery Letter    Page 2, lines 9-14                                      Apple
13
     Joint Discovery Letter    Page 2, lines 15-18                                     Apple
14   Joint Discovery Letter    Page 3, lines 6-13                                      Apple
     Joint Discovery Letter    Page 3, lines 21-23                                     Apple
15   Joint Discovery Letter    Pages 3, line 27 through page 4, line 5                 Apple
     Joint Discovery Letter    Page 4, line 7                                          Apple
16
     Joint Discovery Letter    Page 4, lines 20-22                                     Apple
17   Joint Discovery Letter    Page 4, lines 24-28                                     Apple
     Joint Discovery Letter    Page 5, lines 5-9                                       Apple
18   Joint Discovery Letter    Page 5, lines 10-11                                     Apple
     Joint Discovery Letter    Page 5, lines 13-14                                     Apple
19
     Joint Discovery Letter    Page 5, lines 18-21                                     Apple
20   Joint Discovery Letter    Page 5, lines 27-28                                     Apple
     Ex. 2, RFP No. 2          Meta’s Proposal at Page 1                               Apple
21   Ex. 2, RFP No. 2          Meta’s Proposal re Requested Custodians at Pages 1-     Apple
                               2
22   Ex. 2, RFP No. 2          Meta’s Proposal re Requested Search Terms at Page       Apple
                               2
23
     Ex. 2, RFP No. 2          Apple’s Proposal at Page 1                              Apple
24   Ex. 2, RFP No. 5          Meta’s Proposal at Page 3                               Apple
     Ex. 2, RFP No. 5          Meta’s Proposal re Requested Custodians at Page 3       Apple
25   Ex. 2, RFP No. 5          Meta’s Proposal re Requested Search Terms at Page       Apple
                               4
26   Ex. 2, RFP No. 5          Meta’s Proposal re Requested Custodian at Page 4        Apple
27   Ex. 2, RFP No. 5          Meta’s Proposal re Requested Search Term at Page 4      Apple
     Ex. 2, RFP No. 5          Apple’s Proposal at Page 3                              Apple
28   Ex. 2, RFP No. 5          Apple’s Proposal at Page 3                              Apple
                                                     1
               NON-PARTY APPLE INC.’S STATEMENT RE: META’S ADMINISTRATIVE MOTION
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 1   Document                    Portions to be Filed Under Seal                            Party Claiming
                                                                                            Confidentiality
 2   Ex. 2, RFP No. 6            Meta’s Proposal at Page 4                                  Apple
     Ex. 2, RFP No. 6            Meta’s Proposal at Page 5                                  Apple
 3
     Ex. 2, RFP No. 6            Meta’s Proposal re Requested Custodian at Page 5           Apple
 4   Ex. 2, RFP No. 6            Meta’s Proposal re Requested Search Term at Page 5         Apple
     Ex. 2, RFP No. 6            Apple’s Proposal at Page 4                                 Apple
 5   Ex. 2, RFP No. 6            Apple’s Proposal at Page 5                                 Apple
 6   Ex. 2, RFP No. 9            Meta’s Proposal at Page 6                                  Apple
     Ex. 2, RFP No. 9            Meta’s Proposal at Page 6                                  Apple
 7   Ex. 2, RFP No. 9            Meta’s Proposal re Requested Custodian at Page 6           Apple
     Ex. 2, RFP No. 9            Meta’s Proposal re Requested Search Term at Pages          Apple
 8                               6-7
     Ex. 2, RFP No. 9            Apple’s Proposal at Page 6                                 Apple
 9
     Ex. 2, RFP No. 9            Apple’s Proposal at Page 6                                 Apple
10   Ex. 2, RFP No. 10           Meta’s Proposal at Page 7                                  Apple
     Ex. 2, RFP No. 10           Meta’s Proposal at Page 8                                  Apple
11   Ex. 2, RFP No. 10           Meta’s Proposal re Requested Custodian at Page 8           Apple
     Ex. 2, RFP No. 10           Meta’s Proposal re Requested Search Term at Page 8         Apple
12
     Ex. 2, RFP No. 10           Apple’s Proposal at Page 7                                 Apple
13   Ex. 2, RFP No. 10           Apple’s Proposal at Page 8                                 Apple
     Ex. 2, RFP No. 10           Apple’s Proposal at Page 8                                 Apple
14   Ex. 2, RFP No. 11           Meta’s Proposal at Pages 8-9                               Apple
     Ex. 2, RFP No. 11           Meta’s Proposal at Page 9                                  Apple
15
     Ex. 2, RFP No. 11           Meta’s Proposal re Requested Custodian at Page 9           Apple
16   Ex. 2, RFP No. 11           Meta’s Proposal re Requested Search Term at Page 9         Apple
     Ex. 2, RFP No. 11           Apple’s Proposal at Pages 8-9                              Apple
17   Ex. 2, RFP No. 11           Apple’s Proposal at Page 9                                 Apple
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19    II.      LEGAL STANDARD

20           “[A]ccess to judicial records is not absolute.” Kamakana v. City & Cty. of Honolulu, 447

21 F.3d 1172, 1178 (9th Cir. 2006). Courts have broad discretion to protect documents that reflect “a

22 trade secret or other confidential research, development, or commercial information,” Fed. R. Civ.

23 P. 26(c)(1)(G). “[T]he common-law right of inspection has bowed before the power of a court to

24 insure that its records are not used . . . as sources of business information that might harm a litigant’s

25 competitive standing.” In re Elec. Arts, Inc., 298 F. App’x 568, 569 (9th Cir. 2008) (alteration in

26 original) (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)).
27           Where, as here, a non-party seeks to seal information in a non-dispositive motion like Meta’s

28 motion to compel, the non-party must only show “good cause” for sealing. Kamakana, 447 F.3d at
                                                  2
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 1 1179-80. The “good cause” standard is satisfied with a “particularized showing” that “specific

 2 prejudice or harm will result” should the information be disclosed. Phillips ex rel. Estates of Byrd

 3 v. Gen. Motors Corp., 307 F.3d 1206, 1210–11 (9th Cir. 2002). Courts have found “good cause” to

 4 seal information which “contains non-public, sensitive confidential business information” that

 5 “could affect [the movant’s] competitive standing” where “competitors may alter their . . . practices

 6 relating to competing products, time strategic litigation, or otherwise unfairly compete with [the

 7 movant].” Brown v. Google LLC, 2022 WL 816078, at *1 (N.D. Cal. Mar. 17, 2022). Indeed, sealing

 8 is warranted under the higher “compelling reasons” standard where revealing “confidential business

 9 material, marketing strategies, [and] product development plans could result in improper use by
10 business competitors seeking to replicate [the company’s] business practices and circumvent the time

11 and resources necessary in developing their own practices and strategies.” Roley v. Google LLC,

12 2020 WL 13517498, at *1 (N.D. Cal. Apr. 28, 2020) (alteration in original).

13    III.    GOOD CAUSE EXISTS TO SEAL APPLE’S INFORMATION
14           The Joint Discovery Letter and its appended Exhibit 2 contain confidential and proprietary
15 information regarding Apple’s highly sensitive and top-secret VR plans and strategy. Specifically,

16 this information provides details that could disclose the presence, absence, and/or contours of any

17 plans Apply may have related to: (1) offering its Fitness+ product (a video on demand guided

18 workout and mindfulness streaming service) in the VR/AR/MR space and (2) Apple’s development

19 of VR/AR/MR hardware products.

20           Public disclosure of this information would significantly harm Apple’s competitive standing.
21 (McNamara Decl. ¶¶ 7, 11.) Apple has limited any public disclosure—and even disclosure within

22 Apple—of any VR plans, including whether or not it plans to release a VR device, when it might

23 release such a device, what features and apps such a device might include, and how much such a

24 device might cost. (Id. ¶¶ 5-6, 9-10.) For well over a decade, Apple has closely guarded any plans

25 it has or does not have to release new products. Apple has kept these plans top-secret in order to,

26 among other reasons, avoid informing companies that offer or may offer VR devices—including
27 Meta—about whether Apple intends to offer a VR device, any differentiating features of any VR

28 device Apple might offer, as well as Apple’s sales and marketing strategies. (Id. ¶¶ 8-9.)
                                                    3
                NON-PARTY APPLE INC.’S STATEMENT RE: META’S ADMINISTRATIVE MOTION
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 1              The public and Apple’s potential VR competitors have been keenly interested in details about
 2 Apple’s potential VR plans: public speculation around Apple’s VR plans has been rampant and

 3 unconfirmed for years. See Shara Tibken, Apple’s working on a powerful, wireless headset for both

 4 AR,          VR,    CNET       (Apr.    27,    2018)     (claiming    release    slated    for    2020),
 5 https://www.cnet.com/tech/mobile/apple-is-working-on-an-ar-augmented-reality-vr-virtual-reality-

 6 headset-powered-by-a-wireless-wigig-hub/?ftag=COS-05-10aaa0b&linkId=51043864.                    As for
 7 Apple’s competitors, just as one example, Meta’s CEO, Mark Zuckerberg, has given recent

 8 interviews focused on his guesswork about Apple’s VR plans, in which Mr. Zuckerberg has noted

 9 that it will be “interesting” to see Apple’s VR plans once revealed, and that it has “been very hard
10 for [Meta] to have any sense of what [Apple is] doing” with respect to VR.1 Disclosure of the

11 information Apple seeks to seal thus would dampen the effect of any potential announcement by

12 Apple related to a VR device, empower Apple’s potential competitors (including Meta) to adjust

13 their own strategies, and significantly harm Apple’s competitive standing that it has zealously

14 protected by keeping its VR plans top-secret. (Decl. ¶ 11.)

15              The information Apple seeks to seal is narrowly tailored. The redactions are limited to
16 statements concerning—or which might support inferences concerning—Apple’s plans for VR,

17 which must be withheld from the general public and Apple’s competitors to prevent any competitive

18 harm to Apple. (Id. ¶ 3.) Additionally, neither Defendants nor the FTC intends to oppose Apple’s

19 request to keep these materials under seal.

20       IV.      CONCLUSION
21              For the foregoing reasons, and as further set forth in the McNamara Declaration, the Court
22 should seal the identified portions of the Joint Discovery Letter and Exhibit 2 thereto.

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    Alex Heath & Nilay Patel, Mark Zuckerberg on the Quest Pro, building the metaverse, and more,
   THE VERGE (Oct. 11, 2022), https://www.theverge.com/23397187/mark-zuckerberg-quest-pro-
28 metaverse-interview-decoder.
                                                4
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